t!r,   4 .     Case: 1:21-cv-01783 Document #: 15 Filed: 07/23/21 Page 1 of 10 PageID #:48

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                                               UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION


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                                                                                            JUL 2 i'/u'/1
                                                                                                          r.*{
                                                                                            THOMASG. BRUTON
                                                                                         CLERK, U.S. DISTRICT COURT
             (Enter above the full name
             of the plaintiffor plaintiffs in
             this action)

                                         vs.                            Case No:       3.r Q- \'183
                                                                        (To be supplied by the Clerk of this Court)
              0.v s.s , GP.4* H\3\
             SoV,evt\ T" st ffi B'\5e




             (Enter above the full name of ALL
             defendants in this action. Do not
             use "et al.")

             CHECK ONE ONLY:                                            AMENDED COMPLAINT

               V               coMpLAINT ,NDER THE clv,, RIGHTS ACT, TrrLE 42 sECTroN 1983
                               U.S. Code (state, county, or municipal defendants)

                               COMPLAINT UNDERTHE CONSTITUTION ("BMNS" ACTION), TITLE
                               28 SECTION 1331 U.S. Code (federal defendants)

                               OTHER (cite statute, if known)

             BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
             FILING.II FOLLOW THESE INSTRUCTIONS CAREFULLY.




                       If you need additional space for ANY section, please attach an additional sheet and reference that section.l
      Case: 1:21-cv-01783 Document #: 15 Filed: 07/23/21 Page 2 of 10 PageID #:49

           [f you need additional space for ANY section, please attach an additional sheet and reference that section.]



I.       Plaintiff(s):

         A. Name:- Jq$sn\ L\nv\te
         B.        List all aliases:

         C.        Prisoner identification number:                 tR5\A'15 3
         D.        Place of present confinement:                                        Q-ovvEc\ro                                     LY

         E.       Address: \O                                           ct (\"                                                         6a\\GC
         (lf there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
         number, place of confinement, and current address according to the above format on a
         separate sheet of paper.)

II.      Defendant(s):
         (ln A below, place the full name of the first defendant in the first blank, his or her official
         position in the second blank, and his or her place of employment in the third blank. Space
         for two additional defendants is provided in B and C.)

         A.        Defendant: (h,\nor G.?.                       l* u\t\3\
                   ritr", Chrcsqo Yo(c& O QQicav   ,


                   Place of Employment:

         B.        Defendant:

                   ritle' Ck rcq%o Po\ic,g O{{ rC-t-V
                   Place of Employment:

         C.        Defendant:

                   Title:

                   Place of Employment:

         (lf you have more than three defendants, then all additional defendants must be listed
         according to the above format on a separate sheet of paper.)




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           [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
1t      Case: 1:21-cv-01783 Document #: 15 Filed: 07/23/21 Page 3 of 10 PageID #:50

             [f you need additional space for ANY section, please attach an additional sheet and reference that section.]



     III.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
            court in the United States:

            A.      Name of case and docket number:                   Strt q,JA F n\\

            B.       Approximate date of filing lawsuit: &O \%

            C.       List allplaintiffs (if you had co-plaintiffs), including any aliases:




            D.       List all defendants:             CcOK CO'.rtst{


            E.       Court in which the lawsuit was filed (if federal court, name the district; if state court,
                     name the county):               Cr.Otr COur\
            F.       Name ofjudge to whom case was assigned:                        \l / H

            G.       Basic claim made:




            H.       Disposition of this case (for example: Was the case dismissed? Was it appealed?
                     Is it still pending?): -5. t.\t              *'t 5(f,)
                                                                       ?ere\             I


                     Approximate date of disposition:                         30\3

     IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST Df,SCRIBE THE
     ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
     FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
     YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
     AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
     PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVB FILED.




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Case: 1:21-cv-01783 Document #: 15 Filed: 07/23/21 Page 6 of 10 PageID #:53




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Iv.   Statement of Claim:

      State here as briefly as possible the facts of your case. Describe how each defendant is
      involved, including names, dates, and places. Do not give any legal arguments or cite any
      cases or statutes. If you intend to allege a number of related claims, number and set forth
      each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
      if necessary.)




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